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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In Re:                                           §
                                                 §       CASE NO. 17-34196
VANDERHALL EXOTICS OF                            §
HOUSTON, LLC f/k/a/ GLOBAL                       §
MOTORCARS OF HOUSTON, LLC,                       §       CHAPTER 7
                                                 §
                Debtor.                          §

 TRUSTEE’S MOTION TO COMPROMISE CONTROVERSY WITH CITIBANK, N.A.
    PURSUANT TO RULE 9019 OF THE FEDERAL RULES OF BANKRUPTCY
                            PROCEDURE

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING
PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT
AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING
PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE
DATE THIS WAS SERVED ON YOU. YOUR RESPONSE MUST STATE WHY THE
MOTION SHOULD NOT BE GRANTED. IF YOU DO NOT FILE A TIMELY
RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT FURTHER NOTICE TO
YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN AGREEMENT,
YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE OTHERWISE,
THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

To the Honorable David R. Jones,
Chief United States Bankruptcy Judge:

         Randy W. Williams (the “Trustee”), chapter 7 trustee for the estate of Vanderhall Exotics

of Houston, LLC f/k/a Global Motorcars of Houston, LLC (the “Debtor”), files this Motion to

Compromise Controversy with Citibank, N.A. (“Citi” or “Settling Party”), pursuant to Rule 9019

of the Federal Rules of Bankruptcy Procedure.

                                  Summary of Relief Requested

         1.     The Trustee seeks approval of a settlement concerning the Trustee’s fraudulent

transfer claims asserted against Citi in Adversary Proceeding No. 19-3565. Under the proposed


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compromise, the Settling Party shall pay the Trustee $75,000.00 and the Trustee shall release all

claims against the Settling Party. Citi waives the right to assert a claim under 11 U.S.C. § 502(h).

A detailed description of the proposed compromise is set forth below. A copy of the parties’

Settlement Agreement is attached hereto as Exhibit A. While the Settling Party has agreed to the

proposed compromise, the factual recitations set forth herein are solely those of the Trustee and

are not necessarily agreed to by the Settling Party.

                                         Statement of Facts

       2.       On July 5, 2017 (the “Petition Date”), the Debtor filed a voluntary petition for relief

under chapter 11.

       3.       On July 18, 2017, the Trustee was originally appointed as the chapter 11 trustee in

this case. On July 24, 2017, upon the motion of the Trustee, the case was converted to chapter 7.

Subsequently, the Trustee was duly appointed as the chapter 7 trustee in this case.

       4.       On July 3, 2019, the Trustee filed suit against Citi seeking to avoid and recover a

total of $215,409.84 in transfers from the Debtor to Citi in the two years prior to the Petition Date

as fraudulent transfers under 11 U.S.C. § 548 and applicable state law. The Trustee alleged that

the transfers made by the Debtor were on account of personal charges of John Leontaritis, the

owner of the Debtor, that did not benefit the Debtor. Of the transfers, $22,200.00 were made in

the 90 days prior to the Petition Date, and the Trustee alternatively sought to avoid and recover

those transfers as preferential transfers under 11 U.S.C. § 547.

                                     The Proposed Settlement

       5.       Subject to Court approval, the parties have agreed as follows:

               Within twenty (20) days from the execution of the Settlement Agreement and
                receipt of a Form W-9, the Settling Party shall pay to the Trustee $75,000.00 (the
                “Settlement Payment”). The Settlement Payment shall be made to the Trustee’s
                counsel’s trust account and held pending approval of this compromise;.


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               Upon entry of this Order, counsel for the Trustee shall transfer the Settlement
                Payment to the Trustee.

               Upon entry of this Order, the Trustee releases all potential causes of action the
                estate may have against the Settling Party, including but not limited to causes of
                action pursuant to Chapter 5 of the Bankruptcy Code.

               Upon entry of this Order, the Settling Party waives the right to file a claim under
                11 U.S.C. § 502(h).

                                    Merits of the Compromise

       6.       The merits of a proposed compromise should be judged under the criteria set forth

in Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414

(1968). TMT Trailer requires that a compromise must be “fair and equitable.” TMT Trailer, 390

U.S. at 424; In re AWECO, Inc., 725 F.2d 293, 298 (5th Cir.), cert. denied, 469 U.S. 880 (1984).

The terms “fair and equitable” mean that (i) senior interests are entitled to full priority over junior

interests; and (ii) the compromise is reasonable in relation to the likely rewards of litigation. In re

Cajun Electric Power Coop., 119 F.3d 349, 355 (5th Cir. 1997); In re Jackson Brewing Co., 624

F.2d 599, 602 (5th Cir. 1980).

       7.       In determining whether a proposed compromise is fair and equitable, a Court should

consider the following factors:

                (i)     the probabilities of ultimate success should the claim be litigated;

                (ii)    the complexity, expense, and likely duration of litigating the claim;

                (iii)   the difficulties of collecting a judgment rendered from such litigation; and,

                (iv)    all other factors relevant to a full and fair assessment of the wisdom of the
                        compromise.

TMT Trailer, 390 U.S. at 424. The Fifth Circuit has further elaborated on the factors to be

considered in evaluating the wisdom of a proposed settlement. One factor to be considered is “the

paramount interest of creditors with proper deference to their reasonable views.” In re Foster


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Mortgage Corp., 68 F.3d 914, 917 (5th Cir. 1996). Another factor bearing on the wisdom of the

compromise is the extent to which the proposed settlement is the product of arms-length

negotiation. In re Foster Mortgage Corp., 68 F.3d 914, 918 (5th Cir. 1996). In deciding whether

to accept a compromise, a trustee is required to reach an informed judgment, after diligent

investigation, as to whether it is prudent to eliminate the inherent risks, delays, and expense of

prolonged litigation. In re Mailman Stream Carpet Cleaning Corp., 212 F.3d 632 (1st Cir. 2000).

A court is not to substitute its own judgment for that of the trustee, but rather to “canvass the

issues” and determine whether the settlement “falls below the lowest point in the range of

reasonableness.” In re W.T. Grant Co., 699 F.2d 599, 609 (2d Cir. 1983).

       8.      The Trustee believes that the proposed compromise satisfies the requirements

established by the Supreme Court in TMT Trailer.

                               Analysis of Proposed Compromise

       9.      Probabilities of Ultimate Success. The Trustee believes he would ultimately prevail

at trial on at least some, but not all, of the transfers in the complaint. Through informal discovery

between the parties, the Trustee determined that a $55,015.00 transfer dated May 3, 2016, which

the Debtor’s bank statement shows as being sent to Citi itself was actually sent to a Citi account

in the name of another defendant, Juergen Pichler. Additionally, the monthly statements of John

Leontaritis show that he would frequently charge amounts to his personal Citi card with the Debtor

as the merchant. Thus, when the Debtor would later pay off Leontaritis’ personal credit card bill

a portion of those payments were funds that had been essentially “loaned” to the Debtor by Citi

through charges on Leontaritis’ personal card. Approximately $68,000 of the charges provided

some direct or indirect benefit to the Debtor. Accordingly, out of the approximately $215,000 in

transfers listed in the complaint, the Trustee’s best case scenario at trial would be $92,000. The



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Trustee recognizes that litigation always involves risk and uncertainty to all litigants. The Trustee

believes the compromise of $75,000.00 accurately reflects the risks of litigation balanced with the

expenses discussed below. Accordingly, this factor favors approval of the compromise.

       10.     Complexity, Expense and Likely Duration. Counsel for the Trustee is retained on

an hourly fee basis in this case. The adversary proceeding has not progressed beyond the filing of

the complaint. Citi has not yet filed an answer. The Trustee estimates that the administrative

expenses for counsel’s prosecution of the case to trial, if necessary, could equal or exceed the

discount being given to the Settling Party in this compromise. While the Trustee is seeking his

attorneys’ fees in the adversary proceeding, there is no certainty that they will be recoverable.

Accordingly, settling this action early in the course of the adversary proceeding saves the estate

both legal fees and expenses. This factor supports the proposed settlement.

       11.     Difficulty in Collecting Judgment. This factor did not weigh in the Trustee’s

consideration of the proposed settlement because Citi is a stable and solvent defendant.

       12.     Other Factors. The Trustee believes that the proposed compromise is equitable and

serves the purposes underlying the Bankruptcy Code.

       Accordingly, the Trustee requests that this Court approve the proposed settlement and

compromise set forth above and for such other relief as is just.




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       Dated: October 14, 2019.

                                                      Respectfully submitted,

                                                      Porter Hedges LLP

                                               By:    /s/ Joshua W. Wolfshohl
                                                      Joshua W. Wolfshohl
                                                      State Bar No. 24038592
                                                      Aaron J. Power
                                                      State Bar No. 24058058
                                                      1000 Main Street, 36th Floor
                                                      Houston, Texas 77002
                                                      (713) 226-6000
                                                      (713) 228-1331 (fax)

                                                      Counsel for the Trustee


                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing instrument was duly served
by United States first class mail to all parties listed on the attached Service List and by electronic
transmission to all registered ECF users appearing in the case on October 14, 2019.


                                                      /s/ Joshua W. Wolfshohl
                                                      Joshua W. Wolfshohl




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                                      SERVICE LIST

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Austin                                    15051 E Beltwood Pkwy.
c/o William T. Green, III                 Addison, TX 75001-3716
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Houston, TX 77046-1114
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State Farm Mutual Insurance Company of    State Farm Mutual Automobile Insurance
Texas                                     Company
1251 State Street                         One State Farm Plaza
Suite 1000                                Bloomington, IL 61710-0001
Richardson, TX 75082-2202

Vanderhall Exotics of Houston,            Third Coast Bank SSB
12978 Sugar Ridge Blvd.                   c/o Michael J. Durrschmidt
Stafford, TX 77477-3147                   Hirsch 6 Westheimer, P.C.
                                          1415 Louisiana, 36th Floor
                                          Houston, TX 77002-7360

Kim Le                                    Westlake Flooring Company, LLC
c/o Law Office of Vy-Vivian Nguyen,       d/b/a Westlake
PLLC                                      c/o Mark A. Platt
1400 Broadfield Blvd, Ste. 600            Dunham Biles
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John S. Mayer                          Houston, TX 77002-2604
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Houston, TX 77063-1618

Moody National Bank                    Wells Fargo Bank, N.A.
2302 Postoffice St.                    d/b/a Wells Fargo Dealer Services
Galveston, TX 77550-1935               420 Montgomery St.
                                       San Francisco, CA 94104-1298

TD Auto Finance LLC                    Westlake Flooring Services
c/o McGlinchey Stafford                4751 Wilshire Blvd, Ste. 100
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SunTrust Bank                        Austin, TX 78701
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